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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6
                                    AT SEATTLE
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      RICHARD LAMAR TAYLOR,
 8                                                   No. 3:20-CV-5704-RAJ-DWC
 9                               Plaintiff,
            v.                                       ORDER ADOPTING REPORT
10                                                   AND RECOMMENDATION
      WASHINGTON DEPARTMENT OF
11
      CORRECTIONS, STATE OF
12    WASHINGTON,
                         Defendants.
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           The Court, having reviewed the Report and Recommendation of Magistrate Judge
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     David W. Christel, objections to the Report and Recommendation, if any, and the
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     remaining record, does hereby find and ORDER:
17         (1)    The Court adopts the Report and Recommendation.
18         (2)    This action is dismissed for failure to comply with a Court Order and
19                failure to provide a servable complaint. This dismissal constitutes a strike
20                pursuant to 28 U.S.C. § 1915(g).
21         (3)    The Clerk is directed to send copies of this Order to Plaintiff, counsel for
22                Defendants, and to the Hon. David W. Christel.

23         Dated this 21st day of October, 2020.

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26                                                    The Honorable Richard A. Jones
                                                      United States District Judge

     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
